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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 IN RE EQUIFAX, INC., CUSTOMER              MDL DOCKET NO. 2800
 DATA SECURITY BREACH                       1:17-md-2800-TWT
 LITIGATION
                                            ALL CASES


 CRAVEN RANDALL CASPER,
    Plaintiff,
        v.                                   CIVIL ACTION FILE
                                             NO. 1:18-CV-1511-TWT


 EQUIFAX, INC.,


    Defendant.

                            SUGGESTION OF REMAND


       This is a pro se action under the Fair Credit Reporting Act. It was

initially filed in state court in Orange County, North Carolina. It was removed

by the Defendant to the United States District Court for the Middle District of

North Carolina. The Defendant filed a Notice of Potential Tag-Along Action with

the Judicial Panel on Multidistrict Litigation in the Equifax Data Breach MDL.

On January 12, 2018, the MDL Panel issued a Conditional Transfer Order

transferring the action to this Court. The Plaintiff opposed transfer of the case

into the Equifax Data Breach MDL. The Complaint consists primarily of 35

pages of complaints about the Plaintiff’s credit report. There are occasional



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references to the data breach. However, these are merely incidental to the

claims under the Fair Credit Reporting Act. It does not appear to me that there

are sufficient common questions of fact that inclusion of this case in the Equifax

MDL will promote the just and efficient conduct of this action or the MDL. The

fact that the pro se Plaintiff will not have access to the Court’s electronic docket

will make management of the case difficult. A related case, Casper v. Equifax,

1:18-cv-00202-TWT, has already been transferred by the MDL Panel back to the

Middle District of North Carolina after a Conditional Transfer Order had been

entered. Therefore, I suggest to the Panel that it remand this action to the

United States District Court for the Middle District of North Carolina.

       SO ORDERED, this 31 day of May, 2018.



                                      /s/Thomas W. Thrash
                                      THOMAS W. THRASH, JR.
                                      United States District Judge




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